Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 1 of 27




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

  NELSON FERNANDEZ,

         Plaintiff,

  vs.

  LIQUOR MANAGEMENT, LLC d/b/a
  CROWN WINE & SPIRITS, a
  Florida limited liability company,

        Defendant.
  ______________________________________/

                                           COMPLAINT

         Plaintiff NELSON FERNANDEZ, through undersigned counsel, sues Defendant LIQUOR

  MANAGEMENT, LLC, d/b/a CROWN WINE & SPIRITS, a Florida limited liability company,

  and alleges as follows:

         1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

  Americans with Disabilities Act, 42 U.S.C. §§12181-12189 (“ADA”), as amended, and 28 C.F.R.

  Part 36. This further is an action for declaratory and injunctive relief, damages, attorney’s fees,

  costs, and expenses for lawful discrimination in violation of the Rehabilitation Act of 1973, 29

  U.S.C. §794, et seq. (“Rehab Act”). This is also an action for declaratory and injunctive relief to

  prevent the continuing act of trespass against the Plaintiff’s personal property and for

  compensatory damages to Plaintiff for such trespass. Remedies provided under common law for

  trespass are not exclusive and may be sought in connection with suits brought under the ADA

         2.      This Court has jurisdiction over this case based on federal question jurisdiction, 28

  U.S.C. §1331, and the provisions of the ADA and the Rehab Act. Plaintiff seeks declaratory and



                                                   1
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 2 of 27




  injunctive relief pursuant to 28 U.S.C. §§2201 and 2202. In addition, this Court has supplementary

  jurisdiction over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

         3.      Venue is proper in this Court as all actions complained of herein and injuries and

  damages suffered occurred in the Southern District of Florida.

         4.      Plaintiff NELSON FERNANDEZ is a resident of Palm Beach County, Florida, is

  sui juris, and is disabled as defined by the ADA and ADA Amendments Act of 2008, 42 U.S.C.

  §12101 (“ADAAA”). Plaintiff is also expressly authorized to bring this case as an otherwise

  qualified individual with a disability under the Rehab Act, 29 U.S.C. §§794(a)(2) and

  794(b)(3)(A), and under Section 505-f the Rehab Act which enforces Section 504 of the Rehab

  Act, 29 U.S.C. §§794 and 794a, incorporating the rights and remedies set forth in Title VI of the

  Civil Rights Act of 1964, 42 U.S.C. §2000d, et seq.

         5.      Plaintiff is and at all relevant times has been a visually impaired and physically

  disabled person who has been diagnosed with Relapsing-Remitting Multiple Sclerosis (“RRMS”).

  Because of his disease, Plaintiff is currently paralyzed in approximately 80% to 90% of his body

  as a whole and has limited use of his left hand. Further, because of his disease, Plaintiff has

  developed optic neuritis and is visually disabled, with complete blindness in one eye and limited

  vision in the other eye. Plaintiff thus is substantially limited in performing one or more major life

  activities, including, but not limited to, sight, accurately visualizing his world, and adequately

  traversing obstacles. As such, he is a member of a protected class under the ADA, 42 U.S.C.

  §12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§36.101, et seq., and

  in 42 U.S.C. §3602(h). Plaintiff is also an otherwise qualified individual with a disability who has

  been denied the benefits of a program or activity receiving federal financial assistance and is thus

  covered by the Rehab Act, 29 U.S.C. §794(a) and (b).



                                                   2
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 3 of 27




         6.      Because he is visually disabled, Plaintiff cannot use his computer without the

  assistance of appropriate and available auxiliary aids, screen reader software, and other technology

  and assistance. Screen reader software translates the visual internet into an auditory equivalent. At

  a rapid pace, the software reads the content of a webpage to the user. “The screen reading software

  uses auditory cues to allow a visually impaired user to effectively use websites. For example, when

  using the visual internet, a seeing user learns that a link may be ‘clicked,’ which will bring him to

  another webpage, through visual cues, such as a change in the color of the text (often text is turned

  from black to blue). When the sighted user's cursor hovers over the link, it changes from an arrow

  symbol to a hand. The screen reading software uses auditory—rather than visual—cues to relay

  this same information. When a sight impaired individual reaches a link that may be ‘clicked on,’

  the software reads the link to the user, and after reading the text of the link says the word

  ‘clickable.’…Through a series of auditory cues read aloud by the screen reader, the visually

  impaired user can navigate a website by listening and responding with his keyboard.” Andrews v.

  Blick Art Materials, LLC, 17-CV-767, 2017 WL 6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).

         7.      Defendant is a Florida limited liability company authorized to do business and

  doing business in the State of Florida. Defendant owns, operates, and controls a chain of retail

  liquor stores, including the store located at 532 E. Woolbright Road 1705 South Federal Highway,

  Boynton Beach, Florida that Plaintiff had patronized and intended to patronize in the near future.

  Defendant also owns, leases, leases to, or operates a business in South Florida that is the recipient

  of federal financial assistance for the company as a whole within the meaning of the Rehab Act,

  29 U.S.C. §794(b)(3)(A)(i). See Exhibit “A” attached hereto.




                                                   3
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 4 of 27




         8.      Plaintiff’s visual disability limits him in the performance of major life activities,

  including sight, and he requires assistive technologies, auxiliary aids, and services for effective

  communication, including communication in connection with his use of a computer.

         9.      Plaintiff frequently accesses the internet.        Because he is significantly and

  permanently visually disabled, to effectively communicate and comprehend information available

  on the internet and thereby access and comprehend websites, Plaintiff uses commercially available

  screen reader software to interface with the various websites.

         10.     At all times material hereto, Defendant was and still is an organization that owns

  and operates retail liquor stores under the name “Crown Wine & Spirits”. Crown Wine & Spirits

  stores are open to the public. As the owner, operator, and controller of these retail stores, Defendant

  is defined as a place of “public accommodation” within meaning of Title III because Defendant is

  a private entity which owns and/or operates “[A] bakery, grocery store, clothing store, hardware

  store, shopping center, or other sales or rental establishment,” per 42 U.S.C. §12181(7)(E) and 28

  C.F.R. §36.104(2).

         11.     Because Defendant is a store open to the public, each of Defendant’s physical stores

  is a place of public accommodation subject to the requirements of Title III of the ADA and its

  implementing regulations, 42 U.S.C. §12182, §12181(7)(E), and 28 C.F.R. Part 36.

         12.     Defendant also controls, maintains, and/or operates an adjunct website,

  https://www.crownwineandspirits.com (hereinafter the “Website”). One of the functions of the

  Website is to provide the public information on the locations of Defendant’s stores through a “store

  locator” feature incorporated into the website, which identifies locations that sell Defendant’s

  merchandise throughout the United States and within the State of Florida. Defendant also sells to




                                                    4
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 5 of 27




  the public its merchandise through the Website, which acts as a critical point of sale for the

  merchandise that is also available in Defendant’s physical stores

         13.     The Website also services Defendant’s physical stores by providing information on

  its available merchandise, tips and advice, editorials, sales campaigns, events, and other

  information that Defendant is interested in communicating to its customers.

         14.     Because the Website allows the public the ability to secure information about the

  locations of Defendant’s physical stores, purchase merchandise also available for purchase in the

  physical stores, and sign up for an electronic emailer to receive exclusive online offers, benefits,

  invitations, and discounts for use online and in the physical stores, the Website is an extension of,

  and gateway to, the same goods, services, privileges, and advantages as in Defendant’s physical

  stores, which are places of public accommodation under the ADA. As an extension of and

  necessary service, privilege, and advantage provided by a place of public accommodation as

  defined under the ADA, the Website is an extension of the services, privileges, and advantages

  made available to the general public by Defendant at and through its brick-and-mortar locations

  and businesses. Furthermore, the Website is a necessary service and privilege of Defendant’s

  physical stores in that, as a point of sale for Defendant’s stores, it enables users of the Website to

  make online purchases of Defendant’s merchandise that is also available for purchase in its

  network of physical stores.

         15.     Because the public can view and purchase Defendant’s goods and merchandise

  through the Website that is also offered for sale in Defendant’s physical stores, thus having the

  Website act as a point of sale for Defendant’s merchandise sold in the physical stores, and sign up

  for an electronic emailer to receive exclusive online offers, benefits, invitations, and discounts for

  use online and in the physical stores, the Website is an extension of, and gateway to the physical



                                                    5
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 6 of 27




  stores, which are places of public accommodation pursuant to the ADA, 42 U.S.C. §12181(7)(E).

  As such, the Website is a necessary service, privilege, and advantage of Defendant’s brick and

  mortar stores that must comply with all requirements of the ADA, must not discriminate against

  individuals with visual disabilities, and must not deny those individuals the same full and equal

  enjoyment of the goods, services, privileges, and advantages afforded to the non-visually disabled

  general public both online and in the physical stores.

         16.     At all times material hereto, Defendant was and still is an organization owning,

  operating, and controlling the Website. Since the Website is open to the public through the internet

  and is a point of sale for merchandise sold at, in, and through Defendant’s physical stores, the

  Website is a necessary services, privilege, and advantage, of Defendant’s brick and mortar stores

  that must comply with all requirements of the ADA, must not discriminate against individuals with

  visual or physical disabilities, and must not deny those individuals the full and equal enjoyment of

  the goods, services, privileges, and advantages afforded the non-visually disabled public both

  online and in the physical stores.

         17.     Plaintiff is and has been a customer who is interested in patronizing, and intends to

  patronize in the near future once the Website’s access barriers are removed or remedied,

  Defendant’s physical stores (including the store located at 532 E. Woolbright Road 1705 South

  Federal Highway, Boynton Beach, Florida), and to search for the brick and mortar stores, check

  store hours and merchandise pricing, purchase merchandise, and sign up for an electronic emailer

  to receive exclusive offers, benefits, invitations, and discounts for use at the Website or in

  Defendant’s physical stores.

         18.     The opportunity to shop and pre-shop Defendant’s merchandise and sign up for an

  electronic emailer to receive exclusive online offers, benefits, invitations, and discounts for use



                                                   6
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 7 of 27




  both online and in the physical stores from his home are important and necessary accommodations

  for Plaintiff because traveling outside of his home as a blind and visually disabled individual is

  often difficult, hazardous, frightening, frustrating and confusing experience. Defendant has not

  provided its business information in any other digital format that is accessible for use by blind and

  visually impaired individuals using the screen reader software.

         19.     Like many consumers, Plaintiff accesses a number of websites at a time to help plan

  his store visits, and to compare merchandise, prices, sales, discounts, and promotions. Plaintiff

  may look at several dozens of sites to compare product features, discounts, promotions, and prices.

         20.     During the month April 2021, Plaintiff attempted on a number of occasions to

  utilize the Website to browse through the merchandise and online offers to plan his store visits, to

  educate himself as to the merchandise, sales, discounts, and promotions being offered, and to learn

  about the brick-and-mortar stores, check store hours, and check merchandise pricing with the

  intention of making a purchase through the Website or at one of Defendant’s stores.

         21.     Plaintiff utilizes available screen reader software that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent its free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. These barriers are pervasive and include,

  but are not limited to:

                 a. Return to home page link is mislabeled;

                 b. Product descriptions are inaccessible;

                 c. Submenu inaccessible when navigating with a keyboard; and

                 d. The abbreviation “ml” is not labeled properly.
                 .




                                                    7
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 8 of 27




         22.     The Website also lacks prompting information and accommodations necessary to

  allow visually disabled individuals who use screen reader software to locate and accurately fill out

  online forms to purchase Defendant’s merchandise from the Website.

         23.     Plaintiff attempted to locate an “accessibility” notice, statement, or policy on the

  Website that would direct him to a webpage with contact information for disabled individuals who

  have questions or concerns about, or who are having difficulties communicating with, the Website.

  However, Plaintiff was unable to do so because no such link or notice, statement, or policy existed

  on the Website.

         24.     The fact that Plaintiff could not communicate with or within the Website left him

  feeling excluded, as he is unable to participate in the same shopping experience, with the same

  access to the merchandise, sales, discounts, services, and promotions, as provided on the Website

  and at the physical stores to the non-visually disabled public using the internet.

         25.     Plaintiff desires and intends, in the near future once the Website’s access barriers

  are removed or remedied, to patronize Defendant’s physical stores and to use the Website as a

  necessary extension, service, privilege, and advantage of the physical stores, but he is presently

  unable to fully do so, as he is unable to effectively communicate with Defendant’s physical stores

  due to his severe visual disability and the Website’s access barriers. Thus, Plaintiff, and others

  who are blind and visually disabled, will suffer continuous and ongoing harm from Defendant’s

  intentional acts, omissions, policies, and practices as set forth herein unless properly enjoined by

  this Court.

         26.     Because the Website clearly provides support for and is directly connected with

  Defendant’s retail stores for its goods, operation, and use, and thus is a necessary extension,

  service, privilege, advantage, and accommodation of Defendant’s brick-and-mortar stores for the



                                                    8
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 9 of 27




  purchase of Defendant’s merchandise, the Website must comply with all requirements of the ADA,

  must not discriminate against individuals with disabilities, and must not deny those individuals the

  same full and equal enjoyment of the goods, services, privileges, advantages, and access to

  Defendant’s merchandise as are afforded the non-visually disabled public both online and in the

  physical stores, which are places of public accommodation subject to the requirements of the ADA.

  In addition, because Defendant is a recipient of federal funds as a whole, Defendant is also subject

  to the requirements of the Rehab Act and must not discriminate against qualified or otherwise

  qualified individuals with disabilities in any and all of its “programs and activities”, including the

  Website.

          27.     On information and belief, Defendant has not initiated a Web Accessibility Policy

  to ensure full and equal use of the Website by individuals with disabilities.

          28.     On information and belief, Defendant has not instituted a Web Accessibility

  Committee to ensure full and equal use of Website by individuals with disabilities.

          29.     On information and belief, Defendant has not designated an employee as a Web

  Accessibility Coordinator to ensure full and equal use of the Website by individuals with

  disabilities.

          30.     On information and belief, Defendant has not instituted a Web Accessibility User

  Accessibility Testing Group to ensure full and equal use of the Website by individuals with

  disabilities.

          31.     On information and belief, Defendant has not instituted a User Accessibility

  Testing Group to ensure full and equal use of the Website by individuals with disabilities.

          32.     On information and belief, Defendant has not instituted a Bug Fix Priority Policy.




                                                    9
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 10 of 27




         33.     On information and belief, Defendant has not instituted an Automated Web

  Accessibility Testing program.

         34.     Defendant has not created and instituted a Specialized Customer Assistance line or

  service or email contact mode for customer assistance for the blind and visually disabled.

         35.     Defendant has not created and instituted on the Website a page for individuals with

  disabilities, nor displayed a link and information hotline, nor created an information portal

  explaining when and how Defendant will have the Website, applications, and digital assets

  accessible to the visually disabled or blind community.

         36.     The Website does not meet the Web Content Accessibility Guidelines (“WCAG”)

  2.0 Level AA or higher versions of web accessibility.

         37.     Defendant has not disclosed to the public any intended audits, changes, or lawsuits

  to correct the inaccessibility of the Website to blind and visually disabled individuals who want

  the safety and privacy of purchasing Defendant’s merchandise offered on the Website online from

  their homes.

         38.     Thus, Defendant has not provided full and equal enjoyment of the goods, services,

  facilities, privileges, advantages, accommodations, programs, and activities provided by and

  through the Website in contravention of the ADA and the Rehab Act.

         39.     Public accommodations under the ADA must ensure that their places of public

  accommodation provide effective communication for all members of the general public, including

  individuals with visual disabilities such as Plaintiff. Likewise, under the Rehab Act, public

  accommodations and companies that receive federal financial assistance as a whole must not

  discriminate against disabled persons and are required to make the facilities, programs, or activities

  they operate, including their websites, fully and readily accessible to persons with disabilities.



                                                   10
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 11 of 27




         40.     The broad mandate of the ADA is to provide an equal opportunity for individuals

  with disabilities to participate in and benefit from all aspects of American civic and economic life.

  That mandate extends to internet shopping Websites, such as the Website at issue in the instant

  action. In addition, Congress enacted the Rehab Act to enforce the policy of the United States that

  all programs, projects and activities receiving federal assistance " ... be carried out in a manner

  consistent with the principles of ... inclusion, integration and full participation of the individuals

  [with disabilities]." 29 U.S.C. §701(c)(3).

         41.     Defendant is, and at all relevant times has been, aware of the barriers to effective

  communication within the Website which prevent individuals with disabilities who are visually

  disabled from the means to comprehend information presented therein.

         42.     Defendant is, and at all relevant times has been, aware of the need to provide full

  access to all visitors to the Website.

         43.      The barriers that exist on the Website result in discriminatory and unequal

  treatment of individuals with visual disabilities such as Plaintiff.

         44.     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs

  alleged hereinabove, and this suit for declaratory judgment and injunctive relief is his only means

  to secure adequate and complete redress from Defendant’s unlawful and discriminatory practices

  in connection with its website access and operation.

         45.     Notice to Defendant is not required because of Defendant’s failure to cure the

  violations.

         46.     Enforcement of Plaintiff’s rights under the ADA and the Rehab Act is right and just

  pursuant to 28 U.S.C. §§2201 and 2202.




                                                    11
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 12 of 27




         47.       Plaintiff has retained the undersigned attorneys to represent him in this case and

  has agreed to pay them a reasonable fee for their services.

                                           Trespass Violations

         48.       Plaintiff utilizes his computer to access websites such as Defendant’s Website.

         49.       Plaintiff uses his computer as a method of conveyance of his personal information.

  Plaintiff stores his personal information and retains his browsing history on his computer.

         50.       Based upon a review of the Website, when a user accesses the Website, Defendant

  places software on the Plaintiff’s personal computer and hard drive, without the user’s advance

  consent or knowledge. It is also clear that Defendant has used browser cookies to identify websites

  that Plaintiff has previously visited by accessing Plaintiff’s web browser history.

         51.        Defendant informs the Website user that the user’s personal information and

  browsing history is collected and is used for targeted marketing and advertising.

         52.       Because of his blindness, Plaintiff was unable to fully and meaningfully

  comprehend the Website; therefore, Plaintiff had no choice as to, and likewise no knowledge of,

  Defendant’s installation of the data and information gathering and tracking software, and the

  collection of his browsing history, that was placed on his computer and its hard drive, which in

  fact occurred.

         53.       Through its Website, Defendant thus has committed a trespass against the Plaintiff

  by the Website’s placement of information gathering and tracking software on Plaintiff’s computer

  without Plaintiff’s knowledge or prior consent.

                               COUNT I – VIOLATION OF THE ADA

         54.       Plaintiff re-alleges paragraphs 1 through 47 as if set forth fully herein.




                                                     12
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 13 of 27




         55.     Pursuant to 42 U.S.C. §12181(7)(E), Defendant is a public accommodation under

  the ADA because it owns and/or operates physical stores and the connected Website, as defined

  within §12181(7)(E) and is subject to the ADA.

         56.     Pursuant to 42 U.S.C. §12181(7)(E), the Website is covered under the ADA

  because it provides the general public with the ability to locate and learn about Defendant’s stores,

  purchase merchandise that is also available for purchase in the physical stores, and sign up for an

  electronic emailer to receive exclusive online offers, benefits, invitations, and discounts for use

  both online and in the physical stores. The Website thus is an extension of, gateway to, and

  necessary service, privilege, and advantage of Defendant’s physical stores, one or more of which

  Plaintiff intended to patronize. Further, the Website also serves to augment Defendant’s physical

  stores by providing the public information on the locations of the stores and by educating the public

  as to Defendant’s available products sold through the Website and in its network of physical stores.

  The Website thus is necessary for Plaintiff to fully and equally enjoy and have access to all of the

  goods, services, privileges, and advantages being offered by Defendant both online and in its

  physical stores.

         57.     Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful

  discrimination to deny individuals with disabilities or a class of individuals with disabilities an

  opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

  or accommodation, which is equal to the opportunities afforded to other individuals.

         58.     Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

  discrimination includes, among other things, “a failure to make reasonable modifications in

  policies, practices, or procedures, when such modifications are necessary to afford such goods,

  services, facilities, privileges, advantages, or accommodations to individuals with disabilities,



                                                   13
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 14 of 27




  unless the entity can demonstrate that making such modifications would fundamentally alter the

  nature of such goods, services, facilities, privileges, advantages or accommodations.”

         59.     In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

  discrimination includes, among other things, “a failure to take such steps as may be necessary to

  ensure that no individual with a disability is excluded, denied services, segregated or otherwise

  treated differently than other individuals because of the absence of auxiliary aids and services,

  unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

  the good, service, facility, privilege, advantage, or accommodation being offered or would result

  in an undue burden.”

         60.     Defendant’s Website must comply with the ADA, but it does not as specifically

  alleged hereinabove and below.

         61.     Because of the inaccessibility of the Website, individuals with visual disabilities

  are denied full and equal enjoyment of the goods, information, and services that Defendant has

  made available to the public on the Website and in its physical stores in violation of 42 U.S.C.

  §12101, et seq., and as prohibited by 42 U.S.C. §12182, et seq.

         62.     The Website was subsequently visited by Plaintiff’s expert in April 2021, and the

  expert determination was that the same access barriers that Plaintiff had initially encountered, as

  well as numerous additional access barriers, existed. Defendant thus has made insufficient material

  changes or improvements to the Website to enable its full use, enjoyment, and accessibility for

  blind and visually disabled persons such as Plaintiff. Defendant also has not disclosed to the public

  any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to visually

  disabled individuals, nor has it posted on the Website a conspicuous and effective “accessibility”

  notice, statement, or policy to provide blind and visually disabled person such as Plaintiff with a



                                                   14
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 15 of 27




  viable alternative means to access and navigate the Website. Defendant thus has failed to make

  reasonable modifications in its policies, practices, or procedures when such modifications are

  necessary to afford goods, services, facilities, privileges, advantages, or accommodations to

  individuals with disabilities, in violation of 28 C.F.R. §36.302. The lack of a functional, viable

  and effective “accessibility” notice, policy, or statement and the numerous access barriers as set

  forth in the Declaration of Plaintiff’s expert, Robert D. Moody, attached hereto as Composite

  Exhibit “B” and the contents of which are incorporated herein by reference, continue to render the

  Website not fully accessible to users who are blind and visually disabled, including Plaintiff.

          63.     More violations may be present on other pages of the Website, which can and will

  be determined and proven through the discovery process in this case.

          64.     Further, the Website does not offer or include the universal symbol for the disabled

  that would permit disabled individuals to access the Website’s accessibility information and

  accessibility facts.

          65.     There are readily available, well established guidelines on the internet for making

  websites accessible to the blind and visually disabled. These guidelines have been followed by

  other large business entities in making their websites accessible. Examples of such guidelines

  include, but are not limited to, adding alt-text to graphics and ensuring that all functions can be

  performed using a keyboard. Incorporating such basic components to make the Website accessible

  would neither fundamentally alter the nature of Defendant’s business nor would it result in an

  undue burden to Defendant.

          66.     Defendant has violated the ADA – and continues to violate the ADA – by denying

  access to the Website, and hence its connected physical stores, by individuals such as Plaintiff with




                                                   15
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 16 of 27




  visual disabilities who require the assistance of interface with screen reader software to

  comprehend and access internet websites. These violations within the Website are ongoing.

         67.     The ADA requires that public accommodations and places of public

  accommodation ensure that communication is effective.

         68.     According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice,

  text, and video-based telecommunications products and systems”. Indeed, 28 C.F.R. §36.303(b)(2)

  specifically states that screen reader software is an effective method of making visually delivered

  material available to individuals who are blind or have low vision.

         69.     According to 28 C.F.R. §36.303(c), public accommodations must furnish

  appropriate auxiliary aids and services where necessary to ensure effective communication with

  individuals with disabilities: “In order to be effective, auxiliary aids and services must be provided

  in accessible formats, in a timely manner, and in such a way as to protect the privacy and

  independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

         70.     Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate

  subtitle A of Title III of the ADA, which prohibits discrimination on the basis of disability by

  public accommodations, and requires places of public accommodation to be designed, constructed,

  and altered in compliance with the accessibility standards established by Part 36.

         71.     As alleged hereinabove, the Website has not been designed to interface with the

  widely and readily available technologies that can be used to ensure effective communication, and

  thus violates the ADA.

         72.     As a direct and proximate result of Defendant’s failure to provide an ADA

  compliant Website that is an extension, service, privilege, and advantage of, and critical and

  necessary point of sale for, Defendant’s brick-and-mortar stores, Plaintiff has suffered an injury in



                                                   16
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 17 of 27




  fact by being denied full communication with, access, to and enjoyment of the goods, services,

  privileges, and advantages of Defendant’s physical stores.

         73.     Because of the inadequate development and administration of the Website, Plaintiff

  is entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

  ongoing disability discrimination.

         74.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

  Plaintiff appropriate and necessary injunctive relief, including an order to:

         a) Require Defendant to adopt and implement a web accessibility policy to make publicly

  available and directly link from the homepage of the Website to a functional statement as to the

  Defendant’s policy to ensure persons with visual disabilities have full and equal enjoyment of the

  goods, services, facilities, privileges, advantages, and accommodations offered in Defendant’s

  physical stores through the Website.

         b) Require Defendant to take the necessary steps to make the Website readily accessible

  to and usable by blind and visually disabled users, and during that time period prior to the

  Website’s being readily accessible, to provide an alternative method for individuals with visual

  disabilities to access the information available on the Website until such time that the requisite

  modifications are made, and

         c) Require Defendant to provide the appropriate auxiliary aids such that individuals with

  visual disabilities will be able to effectively communicate with the Website for purposes of

  viewing and locating Defendant’s physical stores and becoming informed of and purchasing

  Defendant’s merchandise online, and during that time period prior to the Website’s being designed

  to permit individuals with visual disabilities to effectively communicate, to provide an alternative




                                                   17
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 18 of 27




  method for individuals with visual disabilities to effectively communicate for such goods and

  services made available to the general public through the Website and the physical stores.

         75.      Plaintiff is entitled to recover his reasonable attorney’s fees, costs, and expenses

  pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned counsel

  for the filing and prosecution of this action and has agreed to pay them a reasonable fee for their

  services.

         WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

         A. A declaration that Defendant’s Website is in violation of the ADA;

         B. An Order requiring Defendant, by a date certain, to update the Website, and continue

               to monitor and update the Website on an ongoing basis, to remove barriers in order that

               individuals with visual disabilities can access, and continue to access, the Website and

               effectively communicate with the Website to the full extent required by Title III of the

               ADA;

         C. An Order requiring Defendant, by a date certain, to clearly display the universal

               disabled logo within the Website, wherein the logo1 would lead to a page which would

               state Defendant’s accessibility information, facts, policies, and accommodations. Such

               a clear display of the disabled logo is to ensure that individuals who are disabled are

               aware of the availability of the accessible features of the Website;

         D. An Order requiring Defendant, by a date certain, to provide ongoing support for web

               accessibility by implementing a website accessibility coordinator, a website application




  1
                       or similar.
                                                    18
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 19 of 27




           accessibility policy, and providing for website accessibility feedback to ensure

           compliance thereto;

        E. An Order directing Defendant, by a date certain, to evaluate its policies, practices and

           procedures toward persons with disabilities, for such reasonable time to allow

           Defendant to undertake and complete corrective procedures to its Website;

        F. An Order directing Defendant, by a date certain, to establish a policy of web

           accessibility and accessibility features for the Website to ensure effective

           communication for individuals who are visually disabled;

        G. An Order requiring, by a date certain, that any third-party vendors who participate on

           Defendant’s Website to be fully accessible to the visually disabled;

        H. An Order directing Defendant, by a date certain and at least once yearly thereafter, to

           provide mandatory web accessibility training to all employees who write or develop

           programs or code for, or who publish final content to, the Website on how to conform

           all web content and services with ADA accessibility requirements and applicable

           accessibility guidelines;

        I. An Order directing Defendant, by a date certain and at least once every three months

           thereafter, to conduct automated accessibility tests of the Website to identify any

           instances where the Website is no longer in conformance with the accessibility

           requirements of the ADA and any applicable accessibility guidelines, and further

           directing Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s

           counsel for review;

        J. An Order directing Defendant, by a date certain, to make publicly available and directly

           link from the Website homepage, a statement of Defendant’s Accessibility Policy to



                                                19
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 20 of 27




                  ensure the persons with disabilities have full and equal enjoyment of the Website and

                  shall accompany the public policy statement with an accessible means of submitting

                  accessibility questions and problems;

            K. An award to Plaintiff of his reasonable attorney’s fees, costs, and expenses; and

            L. Such other and further relief as the Court deems just and equitable.

                     COUNT II – VIOLATION OF THE REHABILITATION ACT

            76.      Plaintiff re-alleges paragraphs 1 through 47 and 62 through 65 as if set forth fully

  herein.

            77.      As more specifically set forth above, Defendant has violated the Rehab Act by

  failing to interface its website with software utilized by visually impaired individuals. Thus,

  Defendant has violated the following provisions either directly or through contractual, licensing,

  or other arrangements with respect to Plaintiff and other similarly situated individuals solely by

  reason of their disability:

            a)       By excluding Plaintiff from participation in and denying him the benefits of or

  subjecting him to discrimination under any program or activity receiving federal financial

  assistance, Defendant has violated the Rehab Act;

            b)       Congress enacted the Rehab Act to enforce the policy of the United States that all

  programs, projects and activities receiving federal assistance " ... be carried out in a manner

  consistent with the principles of ... inclusion, integration and full participation of the individuals

  [with disabilities]." 29 U.S.C. Section 701 (c)(3);

            c)       Defendant is a recipient of federal financial assistance as a whole bringing it under

  the Rehab Act, which prohibits discrimination against qualified or otherwise qualified individuals

  in the recipient's "programs or activities";



                                                      20
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 21 of 27




         d)      Section 504 of the Rehab Act prohibits recipients of federal funding from

  discriminating against disabled persons and requires that facilities, programs, or activities operated

  by a federally funded entity be readily accessible to persons with disabilities;

         e)      The Rehab Act defines "program or activity" as all of the operations of the entire

  corporation, partnership, or other private organization, or sole proprietorship as a whole which

  receives and distributes federal financial assistance. Defendant's website and its content is a

  "program or activity" within the meaning of the Rehab Act, 29 U.S.C. §794(b)(3)(A)(i);

         f)      Plaintiff was denied access to Defendant's website solely by reason of his disability.

  This denial of access to Defendant's "program or activity" subjected Plaintiff to discrimination,

  excluded Plaintiff from participation in the program or activity, and denied Plaintiff the benefits

  of the Website, a service available to those persons who are not blind. As of this filing, the Website

  remains inaccessible to qualified or otherwise qualified persons;

         g)      The international website standards organization, WC3, has published widely-

  accepted guidelines ("WCAG 2.0 and WCAG 2.1 AA") for making digital content accessible to

  individuals with disabilities. These guidelines have been endorsed the United States Department

  of Justice and by Federal Courts and the United States Access Board; and,

         h)      Defendant has engaged in unlawful practices in violation of Section 504 of the

  Rehab Act, 29 U.S.C. §794 since it launched the Website. These practices include, but are not

  limited to, denying Plaintiff, an individual with a disability who, with or without reasonable

  modifications to the rules, policies, or practices, the removal of communication barriers, or the

  provision of auxiliary aids and services, meets the essential eligibility requirements for the receipt

  of services to participate in programs or activities provided by Defendant.




                                                   21
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 22 of 27




          78.     Defendant has acted with deliberate indifference to the applicable provisions of the

  Rehab Act as to the unlawful practices described herein because Defendant was and is fully aware

  of the inaccessible features of its Website and has failed to remediate the Website to make it

  equally accessible to persons with visual disabilities. Defendant knew that harm to a federally

  protected right was substantially likely, yet it failed to act on that likelihood when it failed to

  remediate its Website. Defendant knew this, and on information and belief a person with authority

  with Defendant to order the remediation of the Website made a deliberate choice not to remediate

  and to continue to offer the inaccessible Website to its customers and potential customers knowing

  that the Website was, and continues to be, inaccessible to the blind and visually disabled.

          79.     Plaintiff would like to be a customer at Defendant's brick-and-mortar store

  locations but before he goes to any of Defendant’s stores, he would like to determine what is

  available for his purchasing, what promotions are being offered, and what new items are currently

  available. In that regard, Plaintiff continues to attempt to utilize the Website and/or plans to

  continue to attempt to utilize the Website on a regular basis to make selections for purchasing

  online or in the stores.

          80.     Plaintiff is continuously aware of the violations at Defendant's Website and is aware

  that it would be a futile gesture to attempt to utilize the Website as long as those violations exist

  unless he is willing to suffer additional discrimination.

          81.     Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

  result of the discriminatory conditions present at Defendant's Website. By continuing to operate

  the Website with discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation

  and segregation and deprives Plaintiff the full and equal enjoyment of the benefits of Defendant’s

  programs and activities available to the general public. By encountering the discriminatory



                                                   22
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 23 of 27




  conditions at Defendant's Website and knowing that it would be a futile gesture to attempt to utilize

  the Website unless he is willing to endure additional discrimination, Plaintiff is deprived of the

  meaningful choice of freely visiting and utilizing the same stores or Website readily available to

  the general public and is deterred and discouraged from doing so. By maintaining a Website with

  access and Rehab Act violations, Defendant deprives Plaintiff the equal access to, and same

  participation in and benefits of, its programs and activities as the non-visually disabled public.

            82.   Plaintiff has suffered and will continue to suffer direct and indirect injury as a result

  of Defendant's discrimination until the Defendant is compelled to comply with the requirements

  of the Rehab Act.

            83.   Plaintiff has a realistic, credible, existing, and continuing threat of discrimination

  from the Defendant's non-compliance with the Rehab Act with respect to this Website as described

  above. Plaintiff has reasonable grounds to believe that he will continue to be subjected to

  discrimination in violation of the Rehab Act by the Defendant. Plaintiff desires to access the

  Website to avail himself of the benefits, therein, and/or to assure himself that this Website is in

  compliance with the Rehab Act so that he and others similarly situated will have full and equal

  enjoyment of the Website without fear of discrimination.

            84.   The Plaintiff and all others similarly situated will continue to suffer such

  discrimination, injury, and damage without the immediate relief provided by the RA as requested

  herein.

            85.   Plaintiff is without adequate remedy at law and is suffering irreparable harm based

  on the facts alleged hereinabove.

            86.   Plaintiff has retained the undersigned counsel and is entitled to recover attorney's

  fees, costs, and litigation expenses from the Defendant pursuant to the Rehab Act, 29 U.S.C. §794a.



                                                     23
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 24 of 27




          WHEREFORE, Plaintiff requests entry of judgment in his favor and against Defendant for

  the following relief:

          A.      A declaration that determines that Defendant's Website at the commencement of

  the subject lawsuit is in violation of the Rehabilitation Act;

          B.      A declaration that Defendant's Website continues to be in violation of the

  Rehabilitation Act;

          C.      A declaration that Defendant has violated the Rehabilitation Act by failing to

  monitor and maintain its Website to ensure that it is readily accessible to and usable by persons

  with visual disabilities;

          D.      Issuance of an Order directing Defendant to alter its Website to make it accessible

  to, and useable by, individuals with visual disabilities to the full extent required by the

  Rehabilitation Act;

          E.      Issuance of an Order directing Defendant to evaluate and neutralize its policies and

  procedures towards persons with disabilities for such reasonable time so as to allow Defendant to

  undertake and complete corrective and remedial procedures;

          F.      Issuance of an Order directing Defendant to continually update and maintain its

  Website to ensure that it remains fully accessible to and usable by visually disabled individuals;

          G.      Award Plaintiff his attorney's fees, costs, and litigation expenses pursuant to 29

  U.S.C. §794a; and

          H.      Award such other relief as the Court deems just and proper, and/or is allowable

  under the Rehabilitation Act.

                                       COUNT III – TRESPASS

          87.     Plaintiff re-alleges paragraphs 1 through 53 as if set forth fully herein.



                                                    24
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 25 of 27




         88.     Plaintiff’s tangible personal property, being his computer, its hard drive, and the

  personal information and browsing history stored therein, has suffered a trespass by Defendant on

  each and every occasion that Plaintiff has accessed the Website, due to Defendant’s automatic

  installation of information gathering and tracking software and analytics, which are present on and

  through the Website, on Plaintiff’s computer.

         89.     At all relevant times, Plaintiff did not consent to and was unaware that the Website

  was placing software on his computer due to his inability to effectively communicate with and

  fully view and access the Website.

         90.     Plaintiff did not consent to the placement of the information gathering and tracking

  software on his computer and its hard drive; therefore, Defendant has committed a trespass against

  Plaintiff by placing such software on his computer and hard drive without his knowledge or prior

  consent.

         91.     By the acts described hereinabove, Defendant has repeatedly and persistently

  engaged in trespass of Plaintiff’s personal property in violation of Florida common law against

  trespass.

         92.     Defendant’s automatic installation, operation, and execution of information

  gathering and tracking software on Plaintiff’s computer and its hard drive have directly and

  proximately impaired the condition and value of the Plaintiff’s computer, thereby causing Plaintiff

  damages.

         93.     The Website has a “Privacy Policy” that discusses the automatic gathering of

  information from and the automatic placement of cookies and other information gathering software

  on, computers and electronic devices of users of the Website such as Plaintiff. A copy of that




                                                  25
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 26 of 27




  “Privacy Policy” is attached hereto as Exhibit “C” and its contents are incorporated herein by

  reference.

         94.       Defendant’s trespass to chattels, nuisance, and interference has caused real and

  substantial damage to Plaintiff as follows:

         a)    By consuming the resources of and/or degrading the performance of Plaintiff’s

  computer (including space, memory, processing cycles, and internet connectivity);

         b) By infringing on Plaintiff’s right to exclude others from his computer;

         c) By infringing on Plaintiff’s right to determine, as the owner of his computer, which

  programs should be installed and operated on his computer;

         d) By compromising the integrity, security, and ownership of Plaintiff’s computer; and

         e) By forcing Plaintiff to expend money, time, and resources in order to remove the

  programs that had been installed on his computer without notice or consent.

         95.       Defendant’s actions were taken knowingly, willfully, intentionally, and in reckless

  disregard for Plaintiff’s rights under the law.

         WHEREFORE, Plaintiff demands a judgment be entered against Defendant for all of

  Plaintiff’s compensatory damages, interest, costs, and such further relief as the Court deems just

  and equitable.

         DATED: June 25th , 2021




                                                    26
Case 9:21-cv-81121-KAM Document 1 Entered on FLSD Docket 06/25/2021 Page 27 of 27




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                                       27
